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                                                                                       #552
  '%AO 245E      (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
                 Sheet I



                                                UNITED STATES DISTRICT COURT
                          SOUTHERN                                                             District of                                  ILLINOIS

            UNITED STATES OF AMERICA                                                                  JUDGMENT IN A CRIMINAL CASE
                                    v.                                                                (For Organizational Defendants)

         GALATIA MEDICAL CENTER, CORP.                                                                CASE NUMBER: 4:09CR40048-004

                                                                                                      N. Scott Rosenblum
                                                                                                      Defendant Organization's Attorney
  THE DEFENDANT ORGANIZATION:
  ~ pleaded guilty to count(s)                  7 and 12 of the Superseding Indictment

  o pleaded nolo contendere to count(s)
      which was accepted by the court.                                                                                                                              • 01\1 IC.,.· f C
                                                                                                                Of:'f:' Of:' I. Duly
                                                                                                                      IC~ 'l.1.1tv.DIS
                                                                                                                                     .,.
  o was found guilty on count(s)                   ___________________________________________________________________

      after a plea of not guilty.
  The organizational defendant is adjudicated guilty of these offenses:


  Title & Section                    Nature of Offense                                                                                    Offense Ended


21 U.S.C. 846                          Conspiracy to Illegally Dispense Controlled Substance                                              9/30/2008                      7s



          The defendant organization is sentenced as provided in pages 2 through _____
                                                                                     8____ of this judgment.


  o The defendant organization has been found not guilty on count(s)
  o Count(s)                                                                                   o are dismissed on the motion of the United States.
                  -------------------------- 0 is
            It is ordered that the defendant organization must notifY the United States attorney for this district within 30 days of any change
  of name, principal business address, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
  are fully paid. If ordered to pay restitution, the defendant organization must notify the court and United States attorney of material
  changes in economic circumstances.

  Defendant Organization's
  Federal Employer I.D. No.:   -=.37.:...-.-;1:...,4:.;0:.;8:..:1..:6:.:9:....-_____________           3/25/2010

  Defendant Organization's Principal Business Address:

   610 Corbin Drive
   Energy, IL 62933


                                                                                                       J. Phil Gilbert                                 District Judge
                                                                                                      Name of Judge                                Title of Judge




                                                                                                      Date
  Defendant Organization's Mailing Address:

   Same as above
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                                                                                                       Judgment-Page             8
   DEFENDANT ORGANIZATION: GALATIA MEDICAL CENTER, CORP.
   CASE NUMBER: 4:09CR40048-004

                                      ADDITIONAL COUNTS OF CONVICTION

Title & Section              Nature of Offense                                                        Offense Ended


18 U.S.C. 1347                Health Care Fraud                                                       9/30/2008          12s
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AO 245E   (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
          Sheet 2 - Probation

                                                                                                   Judgment-Page      3            8 __
                                                                                                                            of _ _ _
DEFENDANT ORGANIZATION: GALATIA MEDICAL CENTER, CORP.
CASE NUMBER: 4:09CR40048-004
                                                                  PROBATION
The defendant organization is hereby sentenced to probation for a term of :
 1 year on Counts 7 and 12 of the Superseding Indictment



The defendant organization shall not commit another federal, state or local crime.




              If this judgment imposes a fine or a restitution obligation, it is a condition of probation that the defendant organization
     pay in accordance with the Schedule of Payments sheet of tliis judgment.




         The defendant organization must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on tile attached page (if indicated below).




                                     STANDARD CONDITIONS OF SUPERVISION
  1) within thirty days from the date of this judgment, the defendant organization shall designate an official of the organization to act
     as the organizations's representative and to be the primary contact with the probation officer;
  2) the defendant organization shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
     officer;
  3) the defendant organization shall notify the probation officer ten days prior to any change in principal business or mailing address;
  4) the defendant organization shall permit a probation officer to visit the organization at any of its operating business sites;
  5) the defendant organization shall notify the probation officer within seventy-two hours of any criminal prosecution, major civil
     litigation, or admInistrative proceeding agaInst the organization;
  6) the defendant organization shall not dissolve, change its name, or change the name under which it does business unless this
     judgment and all criminal monetary penalties imposea by this court are either fully satisfied or are equally enforceable against the
     defendant's successors or assignees; and
  7) the defendant organization shall not waste, nor without permission of the probation officer, sell, assign, or transfer its assets.
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  AO 245E   (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
            Sheet 2A - Probation


  DEFENDANT ORGANIZATION: GALATIA MEDICAL CENTER, CORP.
                                                                                       Judgment-Page    4     of
                                                                                                                   - -8- -
  CASE NUMBER: 4:09CR40048-004

                                             ADDITIONAL PROBATION TERMS
  X Restitution is ordered in the amount of $49,014.82 to be paid to: Illinois Department of Human Services. Restitution
shall be paid through the Clerk of the U.S. District Court and is due immediately. Payment of any interest is waived by the
court. Restitution is to be paid joint and several with codefendants: Sukhdarshan S. 8edi, Illinois Healthcare Clinic PC, a
Corp. d/b/a Marion Family Health Care and M-CFHC, INC. A Corp d/b/a Harrisburg, Family Healthcare. The victims'
recovery is limited to the amount of its loss and the defendant's liability for restitution ceases if and when the victim
receives full restitution. The defendant is required to notify the Court and the Attorney General of any material change in
his economic circumstances that would affect his ability to pay restitution.
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AO 245E   (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
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          Sheet 3 -   Criminal Monetary Penalties

                                                                                                                          5      of        8
DEFENDANT ORGANIZATION: GALATIA MEDICAL CENTER, CORP.                                              Judgment-Page - - -
CASE NUMBER: 4:09CR40048-004
                                                CRIMINAL MONETARY PENALTIES
    The defendant organization must pay the following total criminal monetary penalties under the schedule of payments on Sheet 4.

                    Assessment                                     Fine                                  Restitution
TOTALS            $ 800.00                                      $ 0.00                                 $ 49,014.82


o The detennination of restitution is deferred until _ _ _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such detennination.

o The defendant organization shall make restitution (including community restitution) to the following payees in the amount listed
    below.

    If the defendant organization makes a partial payment, each payee shall receive an approximately proportioned payment; unless specified
    otherwise in the pnorit' order or percentage payment columnbelow. However, pursuant to 18 U .S.C. § 3664(i), all nonfeaeral victims must
    be paid before tne United States is paid.

Name of Payee                                                  Total Loss*                 Restitution Ordered          Priority or Percentage


 Illinois Department of Human Services                                     $49,014.82                 $49,014.82




TOTALS                                                         $             49,014.82 $..:-_ _ _4_9...:,,0_1_4_.8_2_

o    Restitution amount ordered pursuant to plea agreement $ _ _ _ _ _ __

o    The defendant organization shall pay interest on restitution or a fine of more than $2,500, unless the restitution or fine is paid in full
     before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 4 may
     be subject to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

I¥t The court detennined that the defendant organization does not have the ability to pay interest, and it is ordered that:
    IiZf the interest requirement is waived for the 0 fine IiZf restitution.
    o the interest requirement for the o fine            o restitution is modified as follows:

* Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13,1994, but before April 23, 1996.
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AO 245E    (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
           Sheet 4 - Schedule of Payments


DEFENDANT ORGANIZATION: GALATIA MEDICAL CENTER, CORP.                                                        Judgment -   Page   _..:..6_ of   8
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                                                        SCHEDULE OF PAYMENTS

Having assessed the organization's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     [it Lump sum payment of $            49,814.82               due immediately, balance due

           D    not later than                                          , or
           D    in accordance with       D    C or      ~ Dbelow; or

B     D    Payment to begin immediately (may be combined with                       DC or   D D below); or

C     D    Payment in                    (e.g., equal, weekly, monthly, quarterly) installments of $                    over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    ~ Special instructions regarding the payment of criminal monetary penalties:

      X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
      commencement of the term of supervised release. The defendant shall pay restitution in installments of $1,000.00 or
      ten percent of his net monthly income, whichever is greater to commence 30 days after release from imprisonment to a
      term of supervision.



All criminal monetary penalties are made to the clerk of the court.

The defendant organization shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




[it Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
     corresponding payee, if appropriate.

      Restitution is ordered in the amount of $49,014.82 to be paid to: Illinois Department of Human Services. Restitution
      shall be paid through the Clerk of the U.S. District Court and is due immediately. Payment of any interest is waived by
      the court. Restitution is to be paid joint and several with codefendants: Sukhdarshan S. Bedi, Illinois Healthcare Clinic
      PC, a Corp, d/b/a Marion Family Health Care and M-CFHC, INC., A Corp d/b/a Harrisburg Family Healthcare The
      victims' recovery is limited to the amount of its loss and the defendant's liability for restitution ceases if and when the
      victim receives full restitution.

D    The defendant organization shall pay the cost of prosecution.

D    The defendant organization shall pay the foHowing court cost(s):

D    The defendant organization shall forfeit the defendant organization's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
